        Case 8:22-mj-00456-DUTY Document 2 Filed 06/23/22
                                                       FILED Page   1 of DIVISION
                                                             - SOUl"HERN 1 Page ID #:2
                                                                             CLERK, U.S. DISTRICT COURT


                                                                                  JUN 2 3 ~
                                                                          CENTRAL DISTRICT OF CALIFpRNIA
                                                                          BY ~~J~                DEPUTYJ



                                        UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA

                                                                  NUMBER:
UNITED STATES OF AMERICA
                                                 PLAINTIFF I         ~ t Z..2." MJ ~ OC~S~~O ~~~C~
                  V.
                                                                      REPORT COMMENCING CRIMINAL
DERRICK                     TAYLOR                                                    ACTION
USMS#                                           DEFENDANT

TO: CLERK'S OFFICE, U.S. DISTRICT COURT

All areas must be completed. Any area not applicable or unknown should indicate "N/A".

 1. Date and time of arrest: 6/23/2022                G;~~                      [v]~AM   ❑ PM

2. The above named defendant is currently hospitalized       d cannot be transported to court for arraignment or
    any other preluninary proceeding:    ~ Yes          10

3. Defendant is in U.S. Marshals Service lock-up (in this court building):      ~          ❑ No

4. Charges under which defendant has been booked:

    1001(a)(2), 1512(c)(1),

 5. Offense charged is a:    Tony          ❑Minor Offense           ❑Petty Offense         ❑Other Misdemeanor

6. Interpreter Required:       No    ❑Yes        Language:

 7• Year of Birth: 1961

8. Defendant has retained counsel:          No
    ❑ Yes        Name:                                                Phone Number:


9. Name ofPretrial Services Officer notified:      ~U ~ (.j

10. Remarks (if any):


11. Name: Edward Tam                                    (please print)

12. Office Phone Number: 347-642-0295                                     13. Agenry: FBI

14. Signature:                                                            15. Date: 6/23/2022


CR-64(OS/18)                              REPORT COMMENCING CRIMINAL ACTION
